      Case
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                   )     MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION                 )
                                              )     SECTION: “H” (5)
                                              )
This document relates to:                     )
Barbara Earnest, 16-17144                     )

                                      ORDER

      Before the Court are two Motions in Limine;
      IT IS ORDERED that the Motion in Limine to Preclude Evidence or
Argument Concerning FDA’s January 2011 Warning Letter and Corresponding 483
Inspection (Doc. 7673) is GRANTED. However, if the door is opened, a conference
with the Court should be held;
      IT IS FURTHER ORDERED that the Motion in Limine to Preclude Evidence
or Argument Concerning Adverse Event Reports or Other Complaints Involving
Patients Other Than Plaintiff (Doc. 7720 at 13) is DEFERRED until trial for reasons
stated on the record at oral argument on September 5, 2019. Individual adverse event
reports are inadmissible. However, if they are referenced in depositions, the jury may
need context, in which case a conference with the Court should be held.



      New Orleans, Louisiana, this 11th day of September, 2019.




                                           HON. JANE TRICHE MILAZZO
                                           UNITED STATES DISTRICT JUDGE
